08-13555-mg   Doc 6680   Filed 01/15/10 Entered 01/15/10 11:44:22   Main Document
                                     Pg 1 of 6
08-13555-mg   Doc 6680   Filed 01/15/10 Entered 01/15/10 11:44:22   Main Document
                                     Pg 2 of 6
08-13555-mg   Doc 6680   Filed 01/15/10 Entered 01/15/10 11:44:22   Main Document
                                     Pg 3 of 6
08-13555-mg   Doc 6680   Filed 01/15/10 Entered 01/15/10 11:44:22   Main Document
                                     Pg 4 of 6
08-13555-mg   Doc 6680   Filed 01/15/10 Entered 01/15/10 11:44:22   Main Document
                                     Pg 5 of 6
08-13555-mg   Doc 6680   Filed 01/15/10 Entered 01/15/10 11:44:22   Main Document
                                     Pg 6 of 6
